                 Case 19-00561-JMM             Doc 101      Filed 10/18/22         Entered 10/18/22 11:53:41                 Desc
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                                UNITED STATES BANKRUPTCY COURT
                                                          DISTRICT OF IDAHO


In re: JASON S. MONROE                                                                                  Case No.: 19-00561-JMM

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Kathleen A. McCallister, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to
11 U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 05/20/2019.
2) The plan was confirmed on 10/30/2019.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on 08/07/2020, 01/19/2021, 06/08/2021,
    05/16/2022.
5) The case was dismissed on 08/18/2022.
6) Number of months from filing or conversion to last payment: 39.
7) Number of months case was pending: 41.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 9,505.10.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:          $52,312.56
        Less amount refunded to debtor:                      $1,334.60
 NET RECEIPTS:                                                                  $50,977.96

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                 $3,920.00
        Court Costs:                                                                 $.00
        Trustee Expenses and Compensation:                                     $5,115.72
        Other:                                                                       $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                 $9,035.72

 Attorney fees paid and disclosed by debtor:               $2,080.00



 Scheduled Creditors:
Creditor                                                      Claim              Claim            Claim          Principal           Interest
Name                                         Class            Scheduled          Asserted         Allowed        Paid                Paid
CAPITAL ONE BANK                             Unsecured             998.00          998.02           998.02              .00                 .00
DAVID CROSBY                                 Secured           289,880.17      200,000.00       19,655.58        19,655.58           7,233.29
DAVID CROSBY                                 Unsecured                   NA    264,223.12      264,223.12         3,217.82                  .00
IDAHO STATE TAX COMM                         Priority              496.31          471.31           471.31          380.00                  .00
IDAHO STATE TAX COMM                         Unsecured                   NA          25.00           25.00              .00                 .00
INTERNAL REVENUE SERVICE                     Priority            1,800.00        1,155.63         1,155.63          780.00                  .00
INTERNAL REVENUE SERVICE                     Unsecured                   NA          44.49           44.49              .00                 .00
TRANSWORLD SYSTEMS INC                       Unsecured         128,293.09              NA               NA              .00                 .00




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                                  UNITED STATES BANKRUPTCY COURT
                                                         DISTRICT OF IDAHO


In re: JASON S. MONROE                                                                                  Case No.: 19-00561-JMM

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim              Claim           Claim          Principal           Interest
Name                                       Class              Scheduled          Asserted        Allowed        Paid                Paid
WILMINGTON TRUST                           Secured            107,218.00         19,566.51      10,675.55       10,675.55                  .00

 Summary of Disbursements to Creditors:                                                          Claim          Principal           Interest
                                                                                                 Allowed        Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                .00             .00                .00
     Mortgage Arrearage:                                                                        10,675.55       10,675.55                .00
     Debt Secured by Vehicle:                                                                         .00             .00                .00
     All Other Secured:                                                                         19,655.58       19,655.58           7,233.29
 TOTAL SECURED:                                                                                 30,331.13       30,331.13           7,233.29

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                      .00             .00                  .00
     Domestic Support Ongoing:                                                                        .00             .00                  .00
     All Other Priority:                                                                         1,626.94        1,160.00                  .00
 TOTAL PRIORITY:                                                                                 1,626.94        1,160.00                  .00

 GENERAL UNSECURED PAYMENTS:                                                                  265,290.63         3,217.82                  .00

 Disbursements:
        Expenses of Administration:                                                            $9,035.72
        Disbursements to Creditors:                                                           $41,942.24
 TOTAL DISBURSEMENTS:                                                                                                            $50,977.96

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:     10/18/2022                                    By:   /s/Kathleen A. McCallister
                                                                                 Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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